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                                  ATTACHMENT A

      (1)   The parties to this action;

      (2)   All parties to the Underlying Action;

      (3)   All persons identified by the parties to the Underlying Action in the

            Underlying Action as having discoverable information, including but

            not limited to those persons identified in the discovery responses

            exchanged in the Underlying Action as well as all persons having

            been or to be deposed in the Underlying Action;

      (4)   Nonprofits’ Insurance Alliance of California, represented by Rand L.

            Chritton of Archer Norris, a Professional Law Corporation, 2033

            North Main St., Suite 800, Walnut Creek CA 94596. 925-930-6600.

      Plaintiff reserves the right to supplement this response upon the completion

of investigation and discovery.




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